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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                Plaintiff,                            )
                                                      )       Civil Case No.
                v.                                    )
                                                      )
$20,290 IN UNITED STATES CURRENCY,                    )
                  Defendant.                          )

                  ASSENTED-TO MOTION TO EXTEND DEADLINE
                FOR THE UNITED STATES TO FILE CIVIL COMPLAINT


       The United States of America, by its attorney, Andrew E. Lelling, United States Attorney

for the District of Massachusetts, with the assent of the only persons to identify themselves as

Claimants to date, pursuant to 18 U.S.C. § 983(a)(3)(A), respectfully requests an extension of time

to file a civil complaint against the following seized property:

       a.       $20,290 in United States currency seized on September 9, 2020 (the “Currency”).

       The Federal Bureau of Investigation (“FBI”) seized the Currency and commenced

administrative forfeiture proceedings. On or about November 24, 2020, the FBI received claims

for the Currency from Timothy Whitney and Tina Whitney, through their attorney Vincent A.

Bongiorni. No other claims were submitted. On or about December 7, 2020, the United States

received copies of these claims from the FBI, and pursuant to 18 U.S.C. § 983(a)(3), a civil

complaint must be filed against the Currency within 90 days after the claims were received in the

administrative proceedings. Therefore, the civil complaint should be filed on or before February

22, 2021.

       Pursuant to 18 U.S.C. § 983(a)(3)(A), the Court may extend the time to file a civil forfeiture

action upon agreement of the parties. The Parties are in agreement and respectfully request the

Court grant an extension of the civil complaint deadline for an additional six months, to and
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including August 22, 2021.

       WHEREFORE, the United States respectfully requests that it be permitted to file the civil

complaint on or before August 22, 2021.


                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                             By:      /s/ David G. Lazarus
                                                     David G. Lazarus
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     1 Courthouse Way, Suite 9200
                                                     Boston, MA 02210
                                                     (617) 748-3100
Dated: January 15, 2021                              David.Lazarus2@usdoj.gov




                                CERTIFICATE OF SERVICE

        I, David G. Lazarus, Assistant United State Attorney, certify that the foregoing Motion,
filed through the Electronic Case Filing system, will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing, and emailed to attorney Vincent A.
Bongiorni.

                                                     /s/ David G. Lazarus
                                                     David G. Lazarus
Dated: January 15, 2021                              Assistant United States Attorney




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